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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW JERSEY

 In re:                                                            Chapter 11

     BED BATH & BEYOND INC., et al.,                               Case No. 23-13359 (VFP)

                          Debtors.1                                (Jointly Administered)


              NOTICE OF WITHDRAWAL OF APPEARANCE AND REQUEST TO
                   BE REMOVED FROM NOTICE AND SERVICE LISTS




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby .


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         Please take notice that the undersigned attorneys hereby withdraw their appearance as

 counsel to Michaels Stores, Inc., and request that they be removed from the notice and service lists

 in this case.

 Dated: January 30
                __, 2024                       Respectfully submitted,


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